Order entered December 20, 2012

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                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-12-00151-CR
                             No. 05-12-00152-CR

                       James Randolph Bell, Appellant

                                     V.

                        The State of Texas, Appellee

              On Appeal from the Criminal District Court No. 1
                            Dallas County, Texas
               Trial Court Cause No. F11-70232-H, F11-70233-H

                                    ORDER

      The Court REINSTATES these appeals.
      On November 16, 2012, we ordered the trial court to make findings  why
appellant's brief had not been filed.  We have received  the  brief.   Thus,
we VACATE the November 16, 2012 order requiring findings.

      We ORDER the Clerk of the Court to file the brief tendered as  of  the
date of this order.



                                       /s/   DAVID L. BRIDGES
                                             JUSTICE

